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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MAZEN ALI, individually and on behalf  §
of all others similarly situated,      §
                                       §
        Plaintiff,                     §
                                       §
v.                                     §
                                       §                      Cause No. 4:20-cv-02605
THE TEXAS A&M UNIVERSITY               §
SYSTEM, and ELAINE MENDOZA, TIM §
LEACH, PHIL ADAMS, ROBERT L.           §
ALBRITTON, JAY GRAHAM,                 §
MICHAEL A. HERNANDEZ III, BILL         §
MAHOMES, MICHAEL J. PLANK, and §
CLIFF THOMAS, in their official        §
capacities as members of The Texas A&M §
University System Board of Regents,    §
                                       §
        Defendants.                    §


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Pursuant to Rule 41(a), Federal Rules of Civil Procedure, no answer or motion for summary

judgment having been served by any of the Defendants in this action, Plaintiff Mazen Ali files this

Notice of Voluntary Dismissal Without Prejudice and hereby notifies the Court that he is

voluntarily dismissing without prejudice his claims against Defendants in this action.

Dated: November 11, 2020                     Respectfully submitted,

                                             s/ Gary F. Lynch

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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 11, 2020, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
the following counsel of record:

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                                            /s/ Ann Stehling
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